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                          UNITED STATES BANKRUPTCY COURT

                           EASTERN DISTRICT OF WASHINGTON

In re                                                Chapter 11

EASTERDAY RANCHES, INC., et al.,                     Lead Case No. 21-00141-WLH11
                                                     Jointly Administered
               Debtors.                              OBJECTION TO MOTION FOR AN
                                                     ORDER DIRECTING RULE 2004
                                                     EXAMINATIONS OF DEBTORS AND
                                                     NON-DEBTOR PARTIES

        Non-Debtor Easterday Dairy, LLC (hereinafter “Dairy”) objects to the Notice and Motion

for an Order Directing Rule 2004 Examinations of the Debtors and Non-Debtor Parties [Docket

No. 644] (the “2004 Request”) filed on April 27, 2021, by the Official Committee of Unsecured

Creditors for Easterday Ranches, Inc. (the “Ranches Committee”), because the motion is

overbroad directing not only production of documents by order improperly, but also by

establishing interrogatories improperly and without due process. Dairy is willing to voluntarily

produce documents and provide testimony to the extent that the scope of the inquiry is tailored to

the areas of inquiry necessary for the Ranches Committee to be able to evaluate the Debtor’s

financial affairs and proposed plan. Indeed, Dairy is willing to provide information about the

operation, financial affairs, transactions between the related entities and testimony where helpful

without an order. This objection is based upon the Points and Authorities herein and the Court’s

records and files. In short, Dairy has no objection to the Court’s entry of an order authorizing
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Ranches Committee to conduct discovery pursuant to Fed. R. Bankr. P. 2004. This objection is

focused on the requested relief well beyond the Rule and the Ranches Committee’s failure to

follow procedure prior to filing the motion as well as respect for the procedure outlined in the

Rule itself.

               THE RANCHES COMMITTEE’S MOTION IS PREMATURE

        The Ranches Committee’s motion for 2004 exam was filed without conferring as

required by Local Rule. LR 2004-1(a) which requires a movant for the 2004 exam to coordinate

the time and place of the examination before filing the 2004 exam or request with the Court. In

this case, the certification filed by Ranches Committee’s counsel confirms that no attempt to

comply with the local rule ever occurred.

        Moreover, the motion, proposed order and notice seeks information already supplied to

the Debtor’s in possession agent and the Department of Justice. Until the Ranches Committee

has reviewed those documents, there is no need to enter an order requiring production of

documents and identification of information (interrogatories). The current notice and proposed

inquiry is excessive, without limit or focus and incredibly expensive. The Ranches’

Committee’s request, as an example, includes inquiries into every individual associated with

Dairy and all related entities including all digitally stored information on each person’s personal

devices. Dairy is not opposing production of electronically stored information but requiring all

individuals to furnish digitally stored text message, messages from What’s App and related

applications is very expensive and requires discovery of both personal and unrelated information

as well as any possible related information.

        Since January 2021, both Easterday Farms and Easterday Ranches have been run by an

independent board of directors hired by Paladin Management Group, LLC in order to manage the

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debtors’ operations. To Dairy’s knowledge Paladin Management Group, LLC has complete

control of the debtors’ records. To Dairy’s knowledge, debtors’ management has already

assembled a massive amount of documentary information not only for itself, but also has

produced a significant amount of documentation to the United States Department of Justice in

response to a subpoena duces tecum. Accordingly, the debtors and Paladin Management Group,

LLC have control of the documents, with limited exceptions that Easterday Ranches’ Unsecured

Creditor’s Committee wishes to obtain. To Dairy’s knowledge, Easterday Ranches Unsecured

Creditor’s Committee has not reviewed the documentation available to it through the debtors and

Paladin Management Group, LLC.

   THE RANCHES COMMITTEE’S MOTION DOES NOT COMPLY WITH FED. R.
      BANKR. P. 2004 AND THE PROCEDURES ASSOCIATED THEREWITH

       The motion and order do not comply with Fed. R. Bankr. P. 2004. The motion seeks an

order requiring parties and non-appearing entities to be subject to an order requiring production

of documents, responses to Interrogatories and examination. Rule 2004 incorporates Rule 9016

(applying CR 45) Rule 2004(c). Accordingly, while the Ranches Committee may be entitled to

an order for a 2004 examination, the scope of the document request and the ability to compel

witnesses to attend is limited to CR 45 and the protections under that Rule for disputes related to

the scope of the examination and the document production. Civil Rule 45 prescribes procedural

safeguard as outlined above. CR 26 is similarly applied to Fed. R. Bankr. P. 2004 through Fed.

R. Bankr. P. 9014. Under that analysis, discovery that is “unreasonably cumulative or

duplicative, or can be obtained from some other source that is more convenient, less

burdensome, or less expensive” should be attempted. In re Fin. Corp. of AM., 119 B.R. 728, 738

(Bankr. C.D. Cal. 1990). Most importantly, unlike the extensive set of document requests and

interrogatories contained in the Notice the Ranches Committee seek to be ordered, the requests
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should be proportional. This approach is contrary to the approach designed by the Rule and puts

the recipient of the order in an untenable position. Without the procedural safeguards of CR 45,

any dispute relating to the scope and proportionality of the requests ordered by the Court requires

a motion to vacate the order or seek relief from the order, in whole or in part, and subjects the

recipient of the order to contempt for failing to abide by the order. This is not the purpose of

Fed. R. Bankr. P. 2004 despite its otherwise very broad reach.

                                THE MOTION IS OVERBROAD

       While the Ranches Committee has standing to seek discovery, the purpose must fit within

its role. Fed. R. Bankr. P. 2004 is extremely broad but is not without limits. The purpose of Fed.

R. Bankr. P. 2004 is primarily focused on an inquiry into the debtor’s acts, conduct or financial

affairs in order to discover the existence and location of assets of the estate. In re Dinubilo, 177

B.R. 932, 940 (E.D. Cal. 1993).

       Given that the agent for the Debtor in possession has already completed substantial

discovery, and the Department of Justice already completed substantial discovery, it is unclear

what the Ranches Committee seeks to discover. Regardless of the prior plethora of documents

and information, the current proposed notice requiring Dairy, and others, to provide documents,

digitally stored information, and information that is the subject of interrogatories, to the level of

detail requested, is well outside the scope of Ranches Committee’s legitimate inquiry. In any

event, seeking the same exact documents from multiple parties is both onerous and burdensome

not to mention expensive. The latter is important to consider in the context of proportionality as

require by the Federal Rules of Civil Procedure.

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                    DAIRY IS ENTITLED TO A PROTECTIVE ORDER

       To the extent that the Court decides to review the discovery requests item by item in the

extensive requests contained in the Motion and proposed Order and Notice, the parties who are

or may be subject to the Order are entitled to a protective order a.) To limit the scope to a

reasonable inquiry about legitimate issues that the Ranches Committee has; b.) To limit the

disclosure of the documents and testimony from third parties in order to protect legitimate

interests related to the current business interests of the parties and the strategic decisions related

to those interests; and c.) to a provision in the order that requires the Ranches Committee to pay

the reasonable costs related to the discovery beyond limits that the Court sets.

                                          CONCLUSION

       Dairy has no objection to a Fed. R. Bankr. P. 2004 exam order that allows Ranches

Committee to request documents and exam witnesses. Dairy will participate voluntarily in that

process. However, due process must be satisfied and CR 45 limits the scope of the inquiry to the

subpoena process for both witness testimony and the production of documents. Nowhere in the

Rule does it provide for an order requiring production of documents, interrogatories and witness

testimony. Once the Ranches Committee is provided with an order authorizing it to conduct its

discovery under Fed. R. Bankr. P. 2004, it must then comply with the rules under CR 45 and 26.

The respondents are entitled to the procedural safeguards accorded under those rules. Disputes,

of the kind that are being heard at this point, are premature and should be heard by the Court

after the order has been approved, and either objections to the subpoenas and subpoena duces

tecum have been served or a motion for a protection order has been filed by a respondent. An

order requiring a recipient such as Dairy to respond to a request for production, interrogatory or




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other inquiry as detailed in the extensive requests, subjects that recipient to civil contempt for

failure to obey the order. That is not the purpose of a 2004 exam order.

       Dairy requests the Court either deny the order as proposed or allow the order merely

authorizing the Ranches Committee to conduct discovery pursuant to the Rule and without

ordering any form of notice or discovery.

       DATED this 28th day of May, 2021.

                                             JORDAN RAMIS PC


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date shown below, I served a true and correct copy of the

foregoing OBJECTION TO MOTION FOR AN ORDER DIRECTING RULE 2004

EXAMINATIONS OF THE DEBTORS AND NON-DEBTOR PARTIES with the Clerk of the

Court using the CM/ECF system which will send notification of such filing to the following:

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      DATED: May 28, 2021.

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